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                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW MEXICO

                                     Before the Honorable STEPHAN M. VIDMAR
                                     CRIMINAL CLERK’S MINUTES at Las Cruces
                                                                        Recording
Case Number:        19-4439 JP                 Date:    3/24/20                           LCR SIERRA BLANCA
                                                                        Information:
                    REBECCA
Clerk:                                         Type of Hearing:         INITIAL APPEARANCE-REVOCATION
                    HELMICK

Defendant(s):                                           Attorney(s):                                     Appt’d.   Ret’d.
                                                        FPD STANDING IN-MEGHAN
JOSEPH MATTHEW PEREZ
                                                        MCLOUGHLIN
                                                                                                           ☒          ☐
Assistant
                      TAYLOR HARSTEIN                   Interpreter:   N/A
U.S. Attorney:
                                                        Court in
Pretrial Officer:     LAURA GARIBAY                                    8:31-8:33; 8:34-8:36 A.M. 2 MIN
                                                        Session:


☐        Agent sworn in open Court

☒        Court questions Defendant regarding his/her physical and mental condition, age, education

☒        Court advises Defendant(s) of possible penalties and all constitutional rights

☒        ORAL Motion for Detention Hearing by Government

☒        Court grants ☒ Government’s ☐ Defense counsel’s oral motion to continue detention hearing

☐        Waiver of preliminary hearing & right to grand jury presentment filed in open court

☐        Defendant admitted violation; Matter referred to the District Judge For a Disposition Hearing

☐        Set for change of plea on 10/24/2019 at 10:39 A.M.


☒        Defendant in custody

☐        Conditions of Release continued on Page 2


         Other: ALBQ CASE, DEFENDANT REMANDED TO CUSTODY OF USM AND TO BE TRANSFERRED
 ☐
         TO ALBQ. AS SOON AS POSSIBLE
